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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  INDIANA STATE CONFERENCE OF THE                     )
  NATIONAL ASSOCIATION FOR THE                        )
  ADVANCEMENT OF COLORED PEOPLE, et                   )
  al.                                                 )
                                                      )
                               Plaintiffs,            )
                                                      )
                          v.                          )        No. 1:17-cv-02897-TWP-MPB
                                                      )
  CONNIE LAWSON, et al.                               )
                                                      )
                               Defendants.            )


                               MAGISTRATE JUDGE’S ORDER ON
                               TELEPHONIC INITIAL PRE-TRIAL
                                      CONFERENCE

          This matter came before the Honorable Matthew P. Brookman, United States

   Magistrate Judge, by telephone, at 11:00 a.m., Indianapolis time (EST), on November 16, 2017,

   for a conference under Rule 16, Federal Rules of Civil Procedure. Parties were represented by

   counsel.

          Thereafter, the following ORDER is entered:

          1. The TELEPHONIC INITIAL PRE-TRIAL CONFERENCE is re-set for

   NOVEMBER 28, 2017 at 3:00 p.m., Indianapolis time (EST), before the Honorable Matthew

   P. Brookman, United States Magistrate Judge. The information needed by counsel to

   participate in this telephonic conference will be provided by a separate notification.

          This order has been formulated after a conference at which the respective parties have

   appeared. Any party shall file any corrections or additions within fourteen (14) days after




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   receipt of this order.

           SO ORDERED.

   Dated: November 16, 2017




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